

























IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-80,763-01




EX PARTE JACOB ESTRADA, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 07-DCR-047059 IN THE 400TH DISTRICT COURT
FROM FORT BEND COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty and was convicted
of possession of a controlled substance.  He was sentenced to eight  years’ imprisonment.  He did
not appeal his conviction.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his due process rights were violated because a forensic scientist did
not follow accepted standards when analyzing evidence in his case.  This case is one of many cases
affected by a forensic scientist who was found to have not followed accepted standards when
analyzing evidence. This Court addressed these cases in a recent published opinion.  Ex parte Coty,
418 S.W.3d 597 (Tex. Crim. App. 2014).  In Coty, this Court established a two-prong test to
determine whether a due process violation occurred in a case handled by a forensic scientist who has
been found to have committed misconduct in a different case.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has made findings pursuant to that two-part test and recommends that this
Court grant relief.  That recommendation was agreed to by the State.  Relief is granted.  The
judgment in Cause No. 07-DCR-047059 in the 400th District Court of Fort Bend County is set aside,
and Applicant is remanded to the custody of the Sheriff of Fort Bend County.  The trial court shall
issue any necessary bench warrant within 10 days after the mandate of this Court issues.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered: June 11, 2014
Do Not Publish


